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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA                                      FILED
                                                                                       Scott L. Poff, Clerk
                              SAVANNAH DIVISION                                     United States District Court

                                                                              By tblanchard at 11:12 am, Jan 15, 2019



 DEXTER B. BANKS,

               Plaintiff,                                CIVIL ACTION NO.: 4:18-cv-185

        v.

 SHERIFF ST. LAWRENCE, et al.,

               Defendants.


                                          ORDER

       After a careful de novo review of the entire record, the Court concurs with the Magistrate

Judge's November 19, 2018 Report and Recommendation, (doc. 9), to which the parties have not

filed any objections. Accordingly, Court ADOPTS the Report and Recommendation as the

opinion of the Court. The Court DISMISSES this action and DIRECTS the Clerk of Court to

CLOSE this case.

       SO ORDERED, this 15th day of January, 2019.




                                     R. STAN BAKER
                                     UNITED STATES DISTRICT JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
